Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 1 of 7




                     PX3001
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 2 of 7




                     PX3002
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 3 of 7




                     PX3003
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 4 of 7




                     PX3005
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 5 of 7




                     PX3006
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 6 of 7




                     PX3007
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-13   Filed 05/25/24   Page 7 of 7




                     PX3008
                     Filed Under Seal
